                                      UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF OREGON

In re
                                                 )   Case No. 320-31685-TMB13
JAMES O ROSSER                                   )
                                                 )   Confirmation hearing date: Jul 8, 2020
                                                 )   SUPPLEMENTAL
                                                 )   TRUSTEE’S OBJECTION TO
                                                 )   CONFIRMATION AND MOTION
                                Debtor(s).       )   TO DISMISS

Wayne Godare, the Standing Chapter 13 Trustee Objects to Confirmation of the above case for the reason(s) set out
below:
_____a. Plan is not feasible:

_____b. Case/Plan is not proposed in good faith or is forbidden by law:

_____c. Plan does not commit all of debtor’s excess projected disposable income pursuant to
        11 U.S.C. §1325(b)(1)(B) for the applicable commitment period:

_____d. Plan does not meet the best interest test of 11 U.S.C. §1325(a)(4):

_____e. Filing/documentation is deficient:

__X__f. Other: Please provide the Trustee with the total amount of payments received on the land sale contract as
of the date of filing.

If by the time of the scheduled confirmation hearing, debtor fails to take all necessary steps to satisfy each objection
marked above, or is not prepared to address the Trustee’s objections with the filing of an amended plan as directed by the
court during that scheduled confirmation hearing, the Trustee may, in his discretion, urge the court for an order dismissing
the case without further notice.


I certify that on July 1, 2020, copies of the above Objection and Motion were served on the debtor(s) by first class mail
and any debtor(s) attorney by ECF.

DATED: July 1, 2020

                                                                  /s/ Wayne Godare, Trustee



TODD TRIERWEILER
(jt)




                                Case 20-31685-tmb13           Doc 16      Filed 07/01/20
